Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                           Exhibit 5 Page 1 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                           Exhibit 5 Page 2 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                           Exhibit 5 Page 3 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                           Exhibit 5 Page 4 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                           Exhibit 5 Page 5 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                           Exhibit 5 Page 6 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                           Exhibit 5 Page 7 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                           Exhibit 5 Page 8 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                           Exhibit 5 Page 9 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 10 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 11 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 12 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 13 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 14 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 15 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 16 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 17 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 18 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 19 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 20 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 21 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 22 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 23 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 24 of 25
Case 09-61855-bem   Doc 54-5 Filed 10/27/09 Entered 10/27/09 09:54:19   Desc
                          Exhibit 5 Page 25 of 25
